         Case 1:15-cv-00161-ABJ Document 119 Filed 12/20/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GREGORY SMITH,

                Plaintiff

        v.                                        Civil Action No. 1:15-cv-00161 (ABJ)

 DISTRICT OF COLUMBIA, et al.,

                Defendants.


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant District of Columbia, through counsel, submits the following notice of

supplemental authority in support of its Proposed Findings of Fact and Conclusions of Law

[117]: Hurd v. District of Columbia, 2019 WL 6728623 (D.D.C. December 11, 2019) (passim).

Hurd supports the District’s position that prongs three and four of Baker are two sides of the

same coin; they are not conceptionally different but merely suggest two alternative models for

demonstrating that a municipality maintains an unconstitutional custom or practice. [117 at 12].

Hurd states:

               These arguments conflate the third and fourth prongs of municipal
               policy liability described in Baker—they invoke both the consistent
               adoption of subordinates’ acts known as “custom,” as well as
               policymakers’ failure to act in the face of a known need, i.e.,
               “deliberate indifference.” See Baker, 326 F.3d at 1306. The
               conflation of these two prongs is understandable, as they both focus
               on essentially the same three questions: (1) has there been a
               persistent pattern of similar constitutional violations; (2) was the
               District on notice of this pattern of violations; and (3) did the District
               nevertheless fail to act, thus displaying deliberate indifference to the
               possibility of further similar violations. While this has also been
               formulated as a two-step test—did the District have notice of
               constitutional violations and make a deliberate choice not to solve
               the problem (see Def.’s Mot. at 11–12 [ECF 38] (citing Connick,
               563 U.S. at 61))—this two-step test is substantively no different
        Case 1:15-cv-00161-ABJ Document 119 Filed 12/20/19 Page 2 of 2




              since it combines similar constitutional violations and notice into
              one step. See Connick, 563 U.S. at 62 (requiring “[a] pattern of
              similar constitutional violations”); see also Egudu v. District of
              Columbia, 72 F. Supp. 3d 34, 41 (D.D.C. 2014) (requiring evidence
              that “the municipality’s employees engaged in a persistent or regular
              pattern of conduct that gave rise to the alleged constitutional
              violations” (emphasis added)); Olaniyi v. District of Columbia, 876
              F. Supp. 2d 39, 49 (D.D.C. 2012) (concluding that there could be no
              notice when the only evidence presented was of a “history of general
              problems” with the District’s medical care).

Hurd at *5.

Date: December 120, 2019                    Respectfully submitted,

                                            KARL A. RACINE
                                            Attorney General for the District of Columbia

                                            CHAD COPELAND
                                            Deputy Attorney General
                                            Civil Litigation Division

                                            /s/ Michael K. Addo
                                            MICHAEL K. ADDO [1008971]
                                            Chief, Civil Litigation Division, Section IV

                                            /s/ Robert A. DeBerardinis, Jr.
                                            ROBERT A. DEBERARDINIS, JR. [335976]
                                            Senior Assistant Attorney General
                                            ALICIA M. CULLEN [1015227]
                                            Chief, Civil Litigation Division, Section III
                                            441 Fourth Street, NW, Suite 630S
                                            Washington, DC 20001
                                            Phone: (202) 724-6642; (202) 442-9840
                                            Fax: (202) 741-8895; (202) 715-7721
                                            robert.deberardinis@dc.gov; alicia.cullen@dc.gov
                                            Counsel for Defendant District of Columbia




                                               2
